 

Case 7:20-cr-00593 Document1 Filed on 03/10/20 in TXSD Pageiofl — Guy

UNITED STATES DISTRICT COURT United States District Coun
SOUTHERN DISTRICT OF TEXAS Soutliesn Disttist oF Texas
MCALLEN DIVISION 7

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UNITED STATES OF AMERICA : Pavia, J. Brodie, Clerk
Vv. § ;
§ Criminal No.
MANUEL VALENCIO OROZCO §
SEALED INDICTMENT

THE GRAND JURY CHARGES:
On or about April 2, 2019, in the Southern District of Texas and within the jurisdiction of
the Court, defendant, |
MANUEL VALENCIO OROZCO
did knowingly possess a machinegun, to wit: (1) One Glock-type, select-fire conversion device.
In violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).

NOTICE OF FORFEITURE
18 U.S.C. §922(0).

Pursuant to Title 18, United States Code, Section 924(d)(1) and Title 28, United States
Code, Section 2461(c), the United States gives notice to defendant, |
| MANUEL VALENCIO OROZCO
that upon conviction of a violation of Title 18, United States Code, Section 922(0), all firearms
involved in said violation are subject to forfeiture, including but not limited to the following:

(1) One Glock-type, select-fire conversion device.

A TRUE BILL.» -----------

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RYAN K. PATRICK |

UNITED STATES ATTORNEY

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ASSISTANT UNITED STATES ATTORNEY

 
